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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


DEVARY THOMPSON,

                  Plaintiff,
                                            Case No. 21-CV-10168
      vs.
                                            HON. GEORGE CARAM STEEH
WAL-MART STORES EAST,
LP and JOHN DOE,

              Defendants.
_____________________________/

       ORDER ACCEPTING MAGISTRATE JUDGE'S REPORT
        AND RECOMMENDATION TO DISMISS FOR FAILURE
   TO PROSECUTE AND OBEY A DISCOVERY ORDER (ECF No. 21)

      Plaintiff Devary Thompson brings a negligence claim asserting that

an employee of defendant Wal-Mart Stores East, LP allegedly pushed

shopping carts into plaintiff’s back. The case was referred to the assigned

Magistrate Judge for all non-dispositive pretrial matters as well as for a

report and recommendation (“R&R”) as to defendant’s motion to dismiss.

As documented by the Magistrate Judge in his R&R (ECF No. 21), plaintiff

failed to respond to multiple discovery requests, motions (including

defendant’s motion to dismiss) and court orders. Ultimately the Magistrate

Judge issued an order to show cause why it should not recommend

dismissal under Rule 37(b)(2)(A) for plaintiff’s failure to obey its order to
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produce answers to interrogatories and executed record authorizations, or

why the Magistrate Judge should not recommend dismissal under Rule

41(b) or Local Rule 41.2 for failure to prosecute or comply with the court’s

order. (ECF No. 19.) The Magistrate Judge warned plaintiff that failure to

comply with the order to show cause would result in a recommendation of

dismissal under Rule 37(b)(2)(A), Rule 41(b), or Local Rule 41.2, or all

three rules. Plaintiff did not respond to the order to show cause by the

January 3, 2022 deadline.

      The matter is now before the court on the Magistrate Judge’s R&R

that defendant’s motion to dismiss (ECF No. 16) be granted under Rule

41(b), Local Rule 41.2, and Rule 37(b)(2)(A) and that all claims against

Wal-Mart and John Doe be dismissed with prejudice. The Magistrate Judge

also recommends that Wal-Mart is entitled to reasonable expenses,

including attorney’s fees, associated with preparing the motion to dismiss.

(ECF No. 16.) Plaintiff has failed to file a timely objection to the R&R.

      This Court agrees with and adopts the thorough analysis conducted

and recommendations made by the Magistrate Judge. Now, therefore, for

the reasons stated by the Magistrate Judge,

      IT IS HEREBY ORDERED that the R&R (ECF No. 21) is accepted

and adopted by the Court.


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      IT IS HEREBY FURTHER ORDERED that defendant’s motion to

dismiss (ECF No. 16) is GRANTED and that all claims against defendants

are dismissed with prejudice.

      IT IS HEREBY FURTHER ORDERED that defendant Wal-Mart is

entitled to reasonable expenses, including attorney’s fees, associated with

preparing the motion to dismiss. Wal-Mart should prepare and file a sworn

bill of costs in support thereof. Plaintiff may file objections based on the

reasonableness of Wal-Mart’s submission.

       It is so ordered.

Dated: March 8, 2022
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE


                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                     March 8, 2022, by electronic and/or ordinary mail.

                                     s/Brianna Sauve
                                       Deputy Clerk




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